Case 1:18-cv-00912-.]E.] Document 22 Filed 11/13/18 Page 1 of 3

1111th llamilton LLP

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No\'ember 13, 2018

l'r`ci Electrr))ric l"r`lirrg .S`ystem

1`11e llonorable .lohn 1:`. Jones, 111
Federa| Building and

U.S. Courthouse

228 Walnut Street

llarrisburg. PA 17108

Re: .Heli.\'.s'u D\'cmn Perm \'.s'. Gci!en Delweiler. et al., No. l:18-c\-'-00912-.1E.l

Dear .ludge .lones:

l am the appointed mediator in this case and have scheduled a mediation conference l`or next
Tuesday, Novcmber 20. 2018. Pursuant to LR l6.8.7(d) the individual defendants, who are York
City police oi`licers, have submitted through counsel a request to be excused l"rom attending

Onc oi` them is on active military duty in C`uba and the other is on iamin leave. No party
opposes the request. E\-'en though the request was not submitted within the time prescribed by
the rule, I recommend granting it. Persons with the necessary authority to settle will be attending
the conl`crence.

I have enclosed a copy ol` the request letter and proposed order.

Respectfu |y,

`l`homas B. Schmidt. 111

 

cc: l;`CF
I’hiladclphia Bosum Washingmn, D.C. Lus Angel:s New Y¢)rk l’irisburgh
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Case 1:18-cv-00912-.]E.] Document 22 Filed 11/13/18 Page 2 of 3
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Email' jpgonzalcs@md\veg.com R°Se and
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W -n ngton

November 13. 2018
Thomas B. Schmiclt, 111
Pepper l-lamilton
100 Nlarket Street, Suitc 200
P.O. Box 1181
llarrisburg, PA |7108-1 181

RE: Me|issa Dyann-Penn vs. Ga|en Detvt-eiler, Brad[ey Engle and City of York
C|aim No.: 1"ASI477
Our File No.: 20021.00305

Dear Mr. Schmidt:

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As you know. 1 represent the City of York Def`endants in thc above-captioned matter which is scheduled
for a Mediation before you on November 20, 2018. This letter is to advise you that the two (2) individually
named police o|`l`lcers, cannot attend the Mediation. O|`l`lcer Eng|e is currently on active duty in Cuba and
Ofl`icer Detweiler is on family leave. `l`he City, however, will have a representative attending the Mediation
with full settlement authority and the authority to speak on behall`ofthe individual defendants. Additionally. a

representative ofTravelers insurance Company with full settlement authority will be attending

Neither Ofl`icer Detweiler nor Ofl`icer Engle have the authority to consent or oppose any settlement that

may be reached.

l have reached out to all counsel and they havcjoincd in the City Defendants' request.

l enclose a Proposed Order for the signature ofJudge .lones which excuses Officer Detwei|er and Ofl`ieer

Englc from attending the Mediation.
'f|iank you for your attention to this mattcr.

Very truly yours.

John P. Gonzales

JPG:MP

Ce: David Frcedman. Esquire
l_eticia Chavez-Freed. Esquire

Case 1:18-cv-00912-.]E.] Document 22 Filed 11/13/18 Page 3 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF` PENNSYLVANIA

 

MELISSA DYANN PENN,

Plaintif`i`,
C.A. No. 1:18-CV~009l2-JEJ
v.
(Judge John E. Jones III)
GALEN DETWEILER, York City Police

 

Department; : JURY TRIAL DEMANDED
BRADLEY ENGLE, York City Police
Department;
CITY OF YORK;
COUNTY OF YORK;
JOHN DOES and JANE DOES 1 -10,
Defendants.
MIS
And now come this clay of , 2018, upon consideration ofthc request of

Defendants. Galen Detwciler and Brad|cy Englc, and upon recommendation of the Mediator. it
is hereby ORDERED and DF.CREED that Del`endants. Galen Detwciler and Bradley Eng|e arc

excused from attending the Mediation Conference in the above-captioned matter.

 

